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                             UNITED STATES DISTRICT COURT
                         IN THE EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

JANE DOE,
                                                  Case No. 2:18-cv-11435
          Plaintiff,                              Hon. Victoria A. Roberts
                                                  Magistrate Judge Mona K. Majzoub
v.

DEXTER COMMUNITY SCHOOLS,
CHRISTOPHER TIMMIS, Superintendent,
in his Official and Individual Capacities;
WILLIAM MORAN, Principal, in his Official
and Individual Capacities;
CRAIG RAFAIL, Counselor, in his Official
and Individual Capacities; and
OTHER UNIDENTIFIED ROES,
In their Official and Individual Capacities.

          Defendants.


             STIPULATED ORDER OF DISMISSAL WITH PREJUDICE

          Upon stipulation of the parties;

          IT IS ORDERED that the above-referenced case is dismissed with prejudice

and without costs or attorney’s fees to any party.

          This is a final order and closes the case.


                                                  s/ Victoria A. Roberts
                                                  United States District Court Judge

Dated: 9/30/2019
Approved as to form and content:


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/s/ Karen Truszkowski (w/permission)
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Attorney for Plaintiff



/s/ Michael D. Weaver (w/permission)     /s/ Thomas W. Werner
MICHAEL D. WEAVER (P43985)               THOMAS W. WERNER (P67492)
COURTNEY NICHOLS (P75160)                Attorney for Defendant Craig Rafail
Attorney for Defs. Dexter Comm.
Schools, Timmis & Moran




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